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Attorneysfor plaintl]j‘Marcos Lopez de Prado §

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

MARCOS LoPEz 1113 PRADO » § . ease NO.'18-cv-00058 (LTS)
Pléimiff,
against ~

GUGGENHEIM PAR§TNERS, LLC; GUGGENHEIM
INSURANCE sER\/I;C;Es, LLC; GUGGENHEIM LIFE
AND ANNUITY COMPANY; GUGGENHEIM
1NVESTMENT ADV1S0RS, LLC; DELAWARE LIFE
INSURANCE COMP§ANY; DANIEL TQWRISS;
DAVID TOWRISS; DALE UTHOFF; RYAN CLOUD;
ERIN KING MICHA§EL BLOOM MICHAEL§ '
MORAN KEVIN M ;:ROBINSON DA;VID L
KORMAN and ROBERT A sAPERsTEIN

NoTICE 0F vOLUNTARY
DISMISSAL PURSUANT 10
F. R. Civ. P. 41(3)(1)(1\)

Defendants.

 

 

Pursuant to F. R Civ. P. 41(a)(1)_(A) of the Federal Rules of Civil Procedure the
Plaintiff Marcos Lopez de Prado, and his counsel hereby give notice that the above-captioned

action 1s Voluntarily dismissed as against Defendants.

Dated: New York, New York
January 16, 2018

z_E.lCHN `E'IZEMBUAUSE LLP

By:

§ ; _ ,
Y‘Fc)/ztv,b¢l. Grlver/

 

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§* f Marcos Lopez de Prado

 

 

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>A`ltorneysfoz' plaintWMarcos L'opez de Praa’o'

g UNITED STATES DISTRICT COURT
~ 'SOUTHERN DISTRICT OF NEW YORK

 

MARCOS l,OPEZ DE PRADO 1 » Case No. l'8-cV-OO()58 (LTS)
Plaimiff, '
against ~

GUGGENHEIM PARTNERS, LLC; GUGGENHEIM
INSURANCE SERVICES, LLC; GUGGENHEIM LIPE
AND ANNUITY COMPANY; GUGleE§NIrIEH\/Iv
INVESTMENT ADVISORS, LLC; DELAWARE. LIFE
INSURANCE COMPANY; DANIEL TOWRISS; '
DAVID TOWRISS; DALE UTHOFF; RYAN CLOUD;
ERIN KING; MICHAEL BLOOM; MTCHAEL
MORAN; KEVIN M. ROBH\ISON; DAVID L.

` KORMAN; and ROBERT A. SAPERSTEIN,

CERTIFICATE OF SERVICE

Defendants.

 

 

`_ quLiAM T. MARSHALL, JR. hereby certifies

. l. ’ l am a partner With Zeiehner Ellman & Krause LLP, counsel for
'Plaintiff Marcos Lopez de Prado.

2. On Tuesday, January 16', 2018, l caused a copy 01` the Within
Notice of Voluntary Dismissal Pursuant to F. R. Civ. P. 41(a)(1)(A~) to be served upon
l\/lichael P. Roche, Esq; and Alexandra J. Schaller, Esq., of Winston & Strawn LLP,
Attorneys for Defendants, 35 W. Wacker' Drive, ChICago, ll.linois 60601, `by e-mail and
by first class mail With proper prepaid postage affixed and deposited in a depositoly
under the exclusive control of the U.S. Postal Service. A copy of same Was also served
by H'and Delivery to Michael P. Roche, Esq., Winston & Strawn LLP, at 200 Park
Avenue, New York, New York 10166-4193 and Miehael P. R_oche, Esq., c/o
.Guggenheim Partners, LLC, 330 Madison Avenue, New York;, New York 10017.

l hereby certify that the fore
aware that if any of the foregoing statemen

going statements made by me are true. l am

ts made by me are willfully false, l am
subject to punishment . _ .

DATED; Janua_ry' 16, 2018

   

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WILLIAM v11 v1\41`1RSHALL, JR_.v

 

